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                                                            Our File No.: 113808

                                                                                       UNITED STATES DISTRICT COURT
                                                                                      NORTHERN DISTRICT OF NEW YORK



                                                            Karen Muldowney, individually and on behalf of all           Docket No: 5:17-cv-1046 (GLS/DEP)
                                                            others similarly situated,
                                                                                                                         CLASS ACTION COMPLAINT
                                                                                   Plaintiff,

                                                                                                                         JURY TRIAL DEMANDED
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                                                                                        vs.
                          GARDEN CITY, NEW YORK 11530




                                                            Kozeny, McCubbin & Katz LLP and Trinity Financial
                                                            Services, LLC

                                                                                  Defendants.


                                                                   Karen Muldowney, individually and on behalf of all others similarly situated (hereinafter
                                                            referred to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges
                                                            against Kozeny, McCubbin & Katz LLP and Trinity Financial Services, LLC (hereinafter
                                                            referred to collectively as “Defendants”), as follows:
                                                                                                    INTRODUCTION
                                                                   1.      This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                   2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                            and 15 U.S.C. § 1692k(d).
                                                                   3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                            events or omissions giving rise to the claim occurred in this Judicial District.




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                                                                    4.      At all relevant times, Defendants conducted business within the State of New
                                                            York.
                                                                                                        PARTIES

                                                                    5.      Plaintiff Karen Muldowney is an individual who is a citizen of the State of New
                                                            York residing in Onondaga County, New York.
                                                                    6.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                    7.      On information and belief, Defendant Kozeny, McCubbin & Katz LLP,
                                                            (“Kozeny”) is a New York Limited Liability Partnership with a principal place of business in
                                                            Suffolk County, New York.
                                                                    8.      On information and belief, Defendant Trinity Financial Services, LLC (“Trinity”)
                                                            is a Florida Limited Liability Company with a principal place of business in Orange County,
                                                            Florida.
                                                                    9.      Kozeny is regularly engaged, for profit, in the collection of debts allegedly owed
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                                                            by consumers.
                                                                    10.     Trinity is regularly engaged, for profit, in the collection of debts allegedly owed
                                                            by consumers.
                                                                    11.     Kozeny is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
                                                                    12.     Trinity is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                    ALLEGATIONS

                                                                    13.     Defendants allege Plaintiff owes a debt on a mortgage (“the Debt”).
                                                                    14.     The Debt was primarily for personal, family or household purposes and is
                                                            therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                    15.     Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                            owed.
                                                                    16.     Thereafter, at an exact time known only to Defendants, the Debt was assigned or
                                                            otherwise transferred to Defendants for collection.
                                                                    17.     Thereafter, at an exact time known only to Defendants, Trinity became the
                                                            servicer of the Debt.
                                                                    18.     Thereafter, at an exact time known only to Defendants, Kozeny was retained to
                                                            collect the Debt.


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                                                                   19.     In its efforts to collect the Debt, Trinity contacted Plaintiff by letter (“the Trinity
                                                            Letter”) dated November 22, 2016. (“Exhibit 1.”)
                                                                   20.     In its efforts to collect the Debt, Kozeny contacted Plaintiff by letter (“the Kozeny
                                                            Letter”) dated November 22, 2016. (“Exhibit 2.”)
                                                                   21.     The Kozeny Letter was the initial communication Plaintiff received from Kozeny.
                                                                   22.     The Trinity Letter was the initial communication Plaintiff received from Trinity.
                                                                   23.
                                                                   24.     The Letters are “communications” as defined by 15 U.S.C. § 1692a(2).

                                                                                                    FIRST COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(3)
                                                                                                   AS TO TRINITY

                                                                   25.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   26.     15 U.S.C. § 1692g(a)(3) requires that within five days after the initial
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                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
                                                            has paid the debt, send the consumer a written notice containing a statement that unless the
                                                            consumer, within thirty days after receipt of the notice, disputes the validity of the debt, or any
                                                            portion thereof, the debt will be assumed to be valid by the debt collector.”
                                                                   27.     The Trinity Letter fails to contain the required 15 U.S.C. § 1692g(a)(3) disclosure.
                                                                   28.     Trinity violated 15 U.S.C. § 1692g(a)(3) by its failure to provide the information
                                                            required by that Section.


                                                                                                  SECOND COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(4)
                                                                                                   AS TO TRINITY

                                                                   29.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   30.     15 U.S.C. § 1692g(a)(4) requires that within five days after the initial
                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
                                                            has paid the debt, send the consumer a written notice containing a statement that if the consumer
                                                            notifies the debt collector in writing within the thirty-day period that the debt, or any portion



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                                                            thereof, is disputed, the debt collector will obtain verification of the debt or a copy of a judgment
                                                            against the consumer and a copy of such verification or judgment will be mailed to the consumer
                                                            by the debt collector.
                                                                    31.    The Trinity Letter fails to contain the required 15 U.S.C. § 1692g(a)(4) disclosure.
                                                                    32.    Trinity violated 15 U.S.C. § 1692g(a)(4) by its failure to provide the information
                                                            required by that Section.


                                                                                                   THIRD COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(5)
                                                                                                   AS TO TRINITY

                                                                    33.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    34.    15 U.S.C. § 1692g(a)(5) requires that within five days after the initial
                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
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                                                            has paid the debt, send the consumer a written notice containing a statement that, upon the
                                                            consumer’s written request within the thirty-day period, the debt collector will provide the
                                                            consumer with the name and address of the original creditor, if different from the current
                                                            creditor.
                                                                    35.    The Trinity Letter fails to contain the required 15 U.S.C. § 1692g(a)(5) disclosure.
                                                                    36.    Trinity violated 15 U.S.C. § 1692g(a)(5) by its failure to provide the information
                                                            required by that Section.


                                                                                                  FOURTH COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(3)
                                                                                                   AS TO KOZENY

                                                                    37.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    38.    15 U.S.C. § 1692g(a)(3) requires that within five days after the initial
                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
                                                            has paid the debt, send the consumer a written notice containing a statement that unless the
                                                            consumer, within thirty days after receipt of the notice, disputes the validity of the debt, or any
                                                            portion thereof, the debt will be assumed to be valid by the debt collector.”


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                                                                   39.     The Kozeny Letter fails to contain the required 15 U.S.C. § 1692g(a)(3)
                                                            disclosure.
                                                                   40.     Kozeny violated 15 U.S.C. § 1692g(a)(3) by its failure to provide the information
                                                            required by that Section.


                                                                                                    FIFTH COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(4)
                                                                                                   AS TO KOZENY

                                                                   41.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   42.     15 U.S.C. § 1692g(a)(4) requires that within five days after the initial
                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
                                                            has paid the debt, send the consumer a written notice containing a statement that if the consumer
                                                            notifies the debt collector in writing within the thirty-day period that the debt, or any portion
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                                                            thereof, is disputed, the debt collector will obtain verification of the debt or a copy of a judgment
                                                            against the consumer and a copy of such verification or judgment will be mailed to the consumer
                                                            by the debt collector.
                                                                   43.     The Kozeny Letter fails to contain the required 15 U.S.C. § 1692g(a)(4)
                                                            disclosure.
                                                                   44.     Kozeny violated 15 U.S.C. § 1692g(a)(4) by its failure to provide the information
                                                            required by that Section.


                                                                                                   SIXTH COUNT
                                                                                          Violation of 15 U.S.C. § 1692g(a)(5)
                                                                                                   AS TO KOZENY

                                                                   45.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   46.     15 U.S.C. § 1692g(a)(5) requires that within five days after the initial
                                                            communication with a consumer in connection with the collection of any debt a debt collector
                                                            shall, unless the following information is contained in the initial communication or the consumer
                                                            has paid the debt, send the consumer a written notice containing a statement that, upon the
                                                            consumer’s written request within the thirty-day period, the debt collector will provide the
                                                            consumer with the name and address of the original creditor, if different from the current


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                                                            creditor.
                                                                    47.    The Kozeny Letter fails to contain the required 15 U.S.C. § 1692g(a)(5)
                                                            disclosure.
                                                                    48.    Kozeny violated 15 U.S.C. § 1692g(a)(5) by its failure to provide the information
                                                            required by that Section.




                                                                                                  SEVENTH COUNT
                                                                                             Violation of 15 U.S.C. § 1692g
                                                                                                  Validation of Debts
                                                                                                   AS TO TRINITY

                                                                    49.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    50.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
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                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.
                                                                    51.    One such requirement is that the debt collector provide “the name of the creditor
                                                            to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
                                                                    52.    The Trinity Letter fails to set forth the name of the creditor to whom the debt is
                                                            owed.
                                                                    53.    Trinity violated § 1692g as it failed to clearly and explicitly convey the name of
                                                            the creditor to whom the debt is owed.

                                                                                                  EIGHTH COUNT
                                                                                             Violation of 15 U.S.C. § 1692g
                                                                                                  Validation of Debts
                                                                                                   AS TO KOZENY

                                                                    54.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    55.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.
                                                                    56.    One such requirement is that the debt collector provide “the name of the creditor


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                                                            to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
                                                                    57.     The Kozeny Letter fails to set forth the name of the creditor to whom the debt is
                                                            owed.
                                                                    58.     Kozeny violated § 1692g as it failed to clearly and explicitly convey the name of
                                                            the creditor to whom the debt is owed.




                                                                                                 CLASS ALLEGATIONS
                                                                    59.     Plaintiff brings this action individually and as a class action on behalf of all
                                                            persons similarly situated in the State of New York from whom Defendants attempted to collect a
                                                            consumer debt using substantially the same collection letters used here, from one year before the
                                                            date of this Complaint to the present.
                                                                     60.    This action seeks a finding that Defendants’ conduct violates the FDCPA, and
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                                                            asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
                                                                     61.    Defendants regularly engage in debt collection.
                                                                     62.    The Class consists of more than 35 persons from whom Defendants attempted to
                                                            collect delinquent consumer debts using substantially the same collection letters used here.
                                                                     63.    Plaintiff’s claims are typical of the claims of the Class. Common questions of law
                                                            or fact raised by this class action complaint affect all members of the Class and predominate over
                                                            any individual issues. Common relief is therefore sought on behalf of all members of the Class.
                                                            This class action is superior to other available methods for the fair and efficient adjudication of
                                                            this controversy.
                                                                     64.    The prosecution of separate actions by individual members of the Class would
                                                            create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                            the Class, and a risk that any adjudications with respect to individual members of the Class
                                                            would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                            not party to the adjudication, or substantially impair or impede their ability to protect their
                                                            interests. Defendants have acted in a manner applicable to the Class as a whole such that
                                                            declaratory relief is warranted.
                                                                     65.    Plaintiff will fairly and adequately protect and represent the interests of the Class.
                                                            The management of the class action proposed is not extraordinarily difficult, and the factual and


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                                                            legal issues raised by this class action complaint will not require extended contact with the
                                                            members of the Class, because Defendants’ conduct was perpetrated on all members of the Class
                                                            and will be established by common proof. Moreover, Plaintiff has retained counsel experienced
                                                            in actions brought under consumer protection laws.


                                                                                                   JURY DEMAND

                                                                    66.   Plaintiff hereby demands a trial of this action by jury.

                                                                                               PRAYER FOR RELIEF
                                                                   WHEREFORE, Plaintiff respectfully requests judgment as follows:

                                                                                     a. Certify this action as a class action; and

                                                                                     b. Appoint Plaintiff as Class Representative of the Class, and
                                                                                     Plaintiff’s attorneys as Class Counsel; and
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                                                                                     c. Find that Defendants’ actions violate the FDCPA; and

                                                                                     d. Grant damages against Defendants pursuant to 15 U.S.C. § 1692k;
                                                                                     and

                                                                                     e. Grant Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k;
                                                                                     and

                                                                                     f. Grant Plaintiff’s costs; together with

                                                                                     g. Such other relief that the Court determines is just and proper.


                                                            DATED: August 8, 2017

                                                                                                         BARSHAY SANDERS, PLLC

                                                                                                         By: _/s/ Craig B. Sanders ____________
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